Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 1 of 12




               EXHIBIT A
               Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 2 of 12


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     1   MEHTANI LAW OFFICES, P.C.
         AANAND MEHTANI (SBN 254556)
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         Beverly Hills, CA 90210
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     4   amehtani@mehtanilaw.com                                           By: Pngela Linhares,
                                                                               Qeputy Clerc
     5   Attorneys for Plaintiff,
         Juan Velez Rodriguez
     6
                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
     7
                                           FOR THE COUNTY OF ALAMEDA
     8

     9   JUAN VELEZ RODRIGUEZ, an individual,          CaseNo.   22CV020996
    10           Plaintiff,                            COMPLAINT
    11                   ►~~
                                                         1. VIOLATIONS OF LABOR CODE
    12   PENSKE TRUCK LEASING                               SECTION 98.6
         CORPORATION, a Delaware corporation;
    13   ALEX DARE, an individual; and DOES 1            2. VIOLATIONS OF LABOR CODE
         through 50, inclusive,                             SECTION 6310
    14
                Defendants.                              3. VIOLATIONS OF LABOR CODE
    15                                                      SECTION 1102.5
    16                                                   4. ADVERSE EMPLOYMENT ACTION
                                                            IN VIOLATION OF PUBLIC POLICY
    17
                                                       [DEMAND FOR JURY TRIAL]
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                                                   COMPLAINT
                                                                                 Mehtani Law Offices
                                                                                       EXHIBIT A PAGE 11
                Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 3 of 12


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     1

     2           Plaintiff Juan Velez Rodriguez ("Plaintiff') alleges in this Complaint ("Complaint") as follows

     3   on knowledge as to himself and his known acts, and on information and belief as to all other matters:

     4                                                       I.

     5                                        FACTUAL ALLEGATIONS
     6           1.     Defendant Penske Truck Leasing Corp. (the "Company") leases trucks. Plaintiff started

     7 I I working for the Company in or around June 2019 as a customer service representative. He was

     8   responsible for truck maintenance for large scale truck leasers such as UPS.

     9           2.     During his time with the Company, at least 10-15 times per year, Plaintiff complained

    10   to his manager/supervisor Robert Lahey that he was not getting reimbursed for business expenses.

    11   Such expenses included without limitation gas, cell phone use, and uniform (including special rain

    12   jackets/rain boots/head lamps).

    13           3.     Plaintiff also complained that he was unsafe on night shifts. The Company did not

    14   provide any walkie-talkie or other communication device, or any self-defense weapon, but the

    15   Company also did not permit Plaintiff to use his phone at work. That said, cell phone use was still a

    16   business expense there was no other method to clock in and out of work or keep track of certain tasks

    17   or records — Plaintiff understood that he was supposed to be issued a tablet, but he was never issued a

    18   tablet. Plaintiff complained about the safety isstie orally to Mr. Lahey tens of times per year when he

    19   felt unsafe.

    20           4.     In response to the Plaintiffs complaints, the Company provided Plaintiff with two gift

    21   cards for about $15 to Chipotle and Panera Bread respectively. The Company once provided another

    22   $50 "credit card gift card" for cell phone use in early 2022, but there was nothing provided after that

    23   and there was no communication regarding any policy related to cell phone use reimbursement.

    24           5.     On or around July 18, 2022, Plaintiff left the Company for personal reasons.

    25           6.     Plaintiff applied to rejoin the Company in or around September 2022. He was informed

    26   by Lahey that the Company was searching for someone. At first, the Company Human Resources

    27   Department told Plaintiff that he was eligible for rehire and he should reapply.

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                                                       COMPLAIN'I'
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                                                                                                  EXHIBIT A PAGE 12
            Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 4 of 12




 1           7.      Ultimately, Plaintiff did not get the job. He was told by Lahey that he did not get the
 2   job because of his persistent complaining about the reimbursement and safety issues set forth above.
 3   Specifically, Lahey told Plaintiff that Defendant Alex Dare did not want to rehire him — and took the
 4   decision not to do so — because Dare was aware of the frequent complaints and he did not want such a

 5   complainer at the site. Hereinafter Dare together with the Company shall be referred to as

 6   "Defendants."

 7           8.      The misconduct, as described in paragraphs 1-7 above, was performed or ratified by

 8   managing agents of the entity Defendants, including, but not limited to Lahey and Dare and other senior

 9   employees at Defendants (the "Managing Agents"). The Managing Agents were each responsible for
10   overseeing a substantial portion of the entity Defendants' business operations, and each exercised

11   substantial discretionary authority over vital aspects of such operations, including making significant
12   decisions that affect the Company's internal policies. The Managing Agents engaged in malicious,
13   fraudulent, and oppressive conduct that justifies an award of punitive damages.
14           9.      In committing the foregoing acts as set forth above in paragraphs 1-6 above, the Managing
15   Agents willfully disregarded Plaintiff's right to be free from retaliation.

16           10.     In committing the foregoing acts as set forth in paragraphs 1-6 above, the Managing

17   Agents acted despicably and subjected Plaintiff to cruel and unjust hardship in conscious disregard for

18   Plaintiff's rights under California law.

19           11.     In committing the foregoing acts as set forth in paragraphs 1-6 above, the Managing
20   Agents intended to cause emotional and financial injury to Plaintiff.
21                                                       II.
22                                                   PARTIES

23          12.      At all relevant times, Defendants did business in Alameda County. Plaintiff is, and at the
24 I relevant times mentioned herein was, a resident of Alameda County.
25          13.      Plaintiff is ignorant of the true names and capacities of defendants sued herein as DOES
26   1 through 50, inclusive, and therefore sue these defendants by such fictitious names. Plaintiff will amend
27   this Complaint to allege the true names and capacities of said defendants when the same has been
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                                                       -3-
                                                    COMPLAINT                            Mehtani Law Offices
                                                                                              EXHIBIT A PAGE 13
             Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 5 of 12




 1   ascertained. Each of the fictitiously named defendants is responsible in some manner for the acts

 2   complained of herein. Unless otherwise stated, all references to named defendants shall include DOE

 3 I I defendants as well.

 4           14.     At all times mentioned herein, Defendants acted in concert, and/or as alter egos of each

 5   other, or otherwise are jointly liable for the unlawful conduct complained of herein. Indeed, Plaintiff is

 6   informed and believes and thereon alleges that Defendants handle certain aspects of their employer-

 7   employee relationships jointly and are a single employer, joint employer and/or integrated enterprise.

 8   Plaintiff further alleges that Defendants at the relevant times were a single employer, joint employer

 9   and/or an integrated enterprise employing Plaintiff.

10

11                                       JURISDICTION AND VENUE
12           15.     Jurisdiction and venue are proper in this Court because all of the claims alleged herein

13   arose in Alameda County and all of the defendants are doing or did business or reside in Alameda

14   County, and/or their principal place of business is in Alameda County, in each case, at the times relevant

15   herein. See also Govt. Code § 12965(b) (stating venue is appropriate in, inter alia, any county in the

16   state in which the unlawful practice is alleged to have been committed).

17           16.     The amount in controversy in this matter exceeds the jurisdictional limits of this Court,

18   exclusive of interest and costs.

19                                                      LUV
20                                        FIRST CAUSE OF ACTION
21                       (Retaliation in Violation of California Labor Code section 98.6)

22                               (On Behalf of Plaintiff Against the Company)

23           17.     Plaintiff realleges and incorporates by reference paragraphs 1-16, inclusive, of this
24   Complaint as though fully set forth herein.
25           18.     California Labor Code section 98.6 prohibits employers from subjecting an employee to

26   any adverse employment action because that employee asserted any right afforded him by the Labor

27   Code.

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                                                       -4-
                                                   COMPLAINT                            Mehtani Law Offices
                                                                                             EXHIBIT A PAGE 14
              Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 6 of 12




 1            19.   The Company subjected Aguilera to adverse employment actions by, without limitation,
 2   failing to rehire him, because he sought to be reimbursed for business expenses in accordance with Labor
 3   Code section 2802.
 4            20.   As a proximate result of the Company's conduct, Plaintiff suffered and continues to suffer
 5   damages in terms of lost wages, lost bonuses, lost benefits, and other pecuniary loss according to proof.

 6   Plaintiff has also suffered and will continue to suffer physical and emotional injuries, including

 7   nervousness, humiliation, depression, anguish, embarrassment, fright, shock, pain, discomfort, fatigue,

 8   and anxiety. The amount of Plaintiff's damages will be ascertained at trial.

 9            21.   The acts of oppression, fraud, and/or malice, were engaged in by Managing Agents
10   employees of Defendants. Defendants had advance knowledge of the conduct of the Managing Agents,

11   who acted with fraud, and/or malice, and/or authorized or ratified the wrongful conduct for which an
12   award of punitive damages is sought, and/or was personally guilty of oppression, fraud, and/or malice.

13   The advance knowledge and conscious disregard, authorization, ratification, or act of oppression, fraud,

14   and/or malice was committed by or on part of an officer, director, or managing agent of the Defendant

15   employer, thereby entitling Plaintiff to punitive and exemplary damages against Defendant employer in

16   accordance with California Civil Code section 3294 in a sum appropriate to punish and make an example

17   out of Defendants.

18            22.   Plaintiff has been generally damaged in an amount within the jurisdictional limits of this
19 I Court.

20

21                                                      V.
22                                      SECONID CAUSE OF ACTION

23                     (Retaliation in Violation of California Labor Code section 6310)

24                               (On Behalf of Plaintiff Against the Company)

25            23.   Plaintiff realleges and incorporates by reference paragraphs 1-22, inclusive, of this
26   Complaint as though fully set forth herein.
27            24.   California Labor Code section 6310(b) prohibits employers from retaliating against
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                                                   COMPLAINT                             Mehtani Law Offices
                                                                                              EXHIBIT A PAGE 15
              Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 7 of 12




 1   employees for making bona fide oral or written complaints to their employers and/or other
 2   governmental agencies "having statutory responsibility for or assisting the division with reference to
 3   employee safety or health ... of unsafe working conditions, or work practices, in his or her
 4   employment or place of employment."
 5            25.   As set forth above in Section I above, Plaintiff made bona fide oral and/or written
 6   complaints to the Company about unsafe working conditions, including physical assault and battery.

 7   Thereafter, the Company retaliated against Plaintiff for making those complaints by failing to re-hire
 8   him. The Company's conduct therefore violated Labor Code section 6310(b).

 9            26.   As a proximate result of the Company's conduct, Plaintiff suffered and continues to
10   suffer damages in terms of lost wages, lost bonuses, lost benefits, and other pecuniary loss according to

11   proof. Plaintiff has also suffered and will continue to suffer physical and emotional injuries, including
12   nervousness, humiliation, depression, anguish, embarrassment, fright, shock, pain, discomfort, fatigue,
13   and anxiety. The amount of Plaintiff's damages will be ascertained at trial.
14            27.   The acts of oppression, fraud, and/or malice, were engaged in by Managing Agents
15   employees of Defendants. Defendants had advance knowledge of the unfitness of each employee who
16   acted with oppression, fraud, and/or malice, and/or authorized or ratified the wrongful conduct for
17   which an award of punitive damages is sought, and/or was personally guilty of oppression, fraud,
18   and/or malice. The advance knowledge and conscious disregard, authorization, ratification, or act of

19   oppression, fraud, and/or malice was committed by or on part of an officer, director, or managing agent
20   of each of the Defendant employers, thereby entitling Plaintiff to punitive and exemplary damages
21   against each Defendant employer in accordance with California Civil Code section 3294 in a sum
22   appropriate to punish and make an example out of Defendants.
23            28.   Plaintiff has been generally damaged in an amount within the jurisdictional limits of this
24   Court.
25   //
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                                                   COMPLAINT
                                                                                        Mehtani Law Offices
                                                                                             EXHIBIT A PAGE 16
            Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 8 of 12




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 2                                                        VI.

 3                                         THIRD CAUSE OF ACTION

 4                     (Retaliation in Violation of California Labor Code section 1102.5)

 5                               (On Behalf of Plaintiff Against All Defendants)

 6           29.    Plaintiff realleges and incorporates by reference paragraphs 1-28, inclusive, of this

 7   Complaint as though fully set forth herein.

 8           30.    Employers are required by Labor Code section 1102.5, subdivision (a) not to adopt or

 9   enforce any policy prohibiting an employee from disclosing information that the employee has
10   reasonable cause to believe violates a state or federal statute, or violates a state or federal rule or

11   regulation, whether such disclosure is made externally to a govemment agency or made internally to
12   someone with authority over the employee.
13           31.    Employers are required by Labor Code section 1102.5, subdivision (b) not to retaliate
14   against an employee for disclosing information, or because the employer believes the employee
15   disclosed information or may disclose information, to a governmental body or to any person with

16   authority over the employee or another employee who has the authority to investigate, discover, or

17   correct the violation or noncompliance, where the employee has reasonable cause to believe that the

18   information discloses a violation of state or federal statute, or a violation or noncompliance with a state

19   or federal rule or regulation.

20          32.     Pursuant to Labor Code section 1102.5, subdivision (c), employers may not retaliate
21   against an employee for refusing to participate in an activity that would result in a violation of state or
22   federal statute, or a violation of or noncompliance with a local, state, or federal rule or regulation.
23          33.     Employers or any person acting on their behalf are required by California Labor Code
24   section 1102.5, subdivision (d) not to retaliate against an employee who exercises her rights under
25   subdivisions (a)-(c).
26          34.     The Company and Dare refused to resume Plaintiff's employment in violation of Labor
27   Code section 1102.5. Plaintiff disclosed information that he had reasonable cause to believe
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                                                     COMPLAINT
                                                                                            Mehtani Law Offices
                                                                                                 EXHIBIT A PAGE 17
              Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 9 of 12




 1   constituted a violation of laws pertaining to health and safety standards and assault and battery,

 2 I including, but not limited to, CAL/OSHA, FEHA, Labor Code sections 232.5, 6310, and common law

 3 I regarding retaliation in the workplace and, assault, battery, intentional infliction of emotional distress.

 4 I In response, the Company and dared to refused to rehire Plaintiff. The Company conduct therefore

 5 I constituted unlawful retaliation pursuant to Labor Code section 1102.5 subd. (a), (b), (c) and (d).

 6            35.    As a proximate result of the Company's conduct, Plaintiff suffered and continues to

 7 I suffer damages in terms of lost wages, lost bonuses, lost benefits, and other pecuniary loss according to

 8   proof. Plaintiff has also suffered and will continue to suffer physical and emotional injuries, including

 9   nervousness, humiliation, depression, anguish, embarrassment, fright, shock, pain, discomfort, fatigue,

10   and anxiety. The amount of Plaintiff's damages will be ascertained at trial.

11            36.    The acts of oppression, fraud, and/or malice, were engaged in by Managing Agents

12 I employees of Defendants. Defendants had advance knowledge of the unfitness of each employee who

13   acted with oppression, fraud, and/or malice, and/or authorized or ratified the wrongful conduct for

14   which an award of punitive damages is sought, and/or was personally guilty of oppression, fraud,

15   and/or malice. The advance knowledge and conscious disregard, authorization, ratification, or act of

16   oppression, fraud, and/or malice was committed by or on part of an officer, director, or managing agent

17   of each of the Defendant employers, thereby entitling Plaintiff to punitive and exemplary damages

18   against each Defendant employer in accordance with California Civil Code section 3294 in a sum

19   appropriate to punish and make an example out of Defendants.

20            37.    Labor Code Section 1102.5 provides for an award of reasonable attorneys' fees and

21   costs incurred by a prevailing Plaintiff in an action brought under its provisions. Plaintiff has

22   employed and will continue to employ attorneys for the initiation and prosecution of this action.

23   Plaintiff has incurred and will continue to incur attorneys' fees and costs herein. Plaintiff is entitled to

24 I, an award of attorneys' fees and costs.

25            38.    Plaintiff has been generally damaged in an amount within the jurisdictional limits of this

26 I Court.

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                                                     COMPLAINT                             Mehtani Law Offices
                                                                                                EXHIBIT A PAGE 18
              Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 10 of 12




 1
 2                                         NINTH CAUSE OF ACTION

 3                        (Adverse Employment Action in Violation of Public Policy)

 4                                  (On Behalf of Plaintiff Against the Company)

 5             39.   Plaintiff realleges and incorporates by reference paragraphs 1-38, inclusive, of this
 6 I I Complaint as though fully set forth herein.

 7             40.   As set forth in Section I above, Plaintiff's employment not resumed because his
 8 I I protected complaints about safety, wages and reimbursement.

 9             41.   Thus, Defendants refused to rehire Plaintiff's in violation of important and well-

10   established public policies, set forth in various state statutes and Constitutional provisions including

11   but not limited to Labor Code sections 232.5, 98.6, 1102.5 2802, the common law (including
12   intentional torts) and 6310.
13             42.   As a proximate result of the conduct of Defendants, Plaintiff has suffered and will
14   continue to suffer damages in terms of lost wages, lost bonuses, lost benefits, and other pecuniary loss
15   according to proof. Plaintiff has also suffered and will continue to suffer physical and emotional
16   injuries, including nightmares, nervousness, humiliation, depression, anguish, embarrassment, fright,

17   shock, pain, discomfort, fatigue, and anxiety. The amount of Plaintiff's damages will be ascertained at

18   trial.

19             43.   The act of oppression, fraud, and/or malice were engaged in by employees and
20   Managing Agents of Defendants. Defendants had advance knowledge of the unfitness of each
21   employee and/or agent who acted with oppression, fraud, and/or malice, and/or authorized or ratified
22   the wrongful conduct for which an award of punitive damages is sought, and/or was personally guilty
23   of oppression, fraud, and/or malice. The advance knowledge and conscious disregard, authorization,
24   ratification, or act of oppression, fraud, and/or malice was committed by or on part of an off'icer,
25   director, or managing agent of Defendants, thereby entitling Plaintiff to punitive and exemplary
26   damages against Defendants in accordance with California Civil Code section 3294 in a sum
27   appropriate to punish and make an example out of Defendants.
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                                                     COMPLAINT
                                                                                          Mehtani Law Offices
                                                                                              EXHIBIT A PAGE 19
          Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 11 of 12




 1            44.   Plaintiff has been generally damaged in an amount within the jurisdictional limits of this
 2   Court.
 3                                           PRAYER FOR RELIEF
 4   As to All Causes of Action
 5             1.   For general damages, including emotional distress damages, according to proof on each

 6    cause of action for which such damages are available.

 7             2.   For special damages, according to proof on each cause of action for which such damages
 8    are available.

 9             3.   For compensatory damages, including emotional distress damages, according to proof on
10    each cause of action for which such damages are available.

11             4.   For declaratory and injunctive relief, as appropriate.
12             5.   For punitive damages, as appropriate.

13             6.   For penalties, as appropriate.

14             7.   For pre judgment interest and post judgment interest according to law.

15             8.   For reasonable attorneys' fees incurred in this action pursuant to Labor Code section

16    1102.5 and any other applicable law.

17             9.   For costs of suit incurred in this action.

18             10. For such other and further relief and the Court deems proper and just.

19

20      Dated: November 2, 2022                       MEHTANI LAW OFFICES, P.C.
21                                                    By:
                                                            AANAND MEHTANI
22
                                                      Attomeys for Plaintiff
23                                                    JUAN VELEZ RODRIGUEZ
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                                                     COMPLAINT
                                                                                       Mehtani Law Offices
                                                                                             EXHIBIT A PAGE 20
            Case 3:22-cv-07734-TLT Document 1-1 Filed 12/07/22 Page 12 of 12




                                        DEMAND FOR JURY TRIAL
 1
              Plaintiff Juan Velez Rodriguez hereby demands a trial by jury on all causes of action alleged
 2
       herein in the Complaint for Damages.
 3

 4
          Dated: November 2, 2022                   MEHTANI LAW OFFICES, P.C.
 5
                                                    By:
 6                                                        AANAND MEHTANI
 7                                                  Attorneys for Plaintiff
                                                    JUAN VELEZ RODRIGUEZ
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                                                  COMPLAINT                          Mehtani Law Offices
                                                                                          EXHIBIT A PAGE 21
